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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division


FLUOR ENTERPRISES, INC.,

                Plaintiff,

v.                                                            Civil Action No. 3:17cv622

MITSUBISHI HITACHI POWER
SYSTEMS AMERICAS, INC.,

                Defendant.

                                   MEMORANDUM OPINION

         This matter comes before the Court on Plaintiff Fluor Enterprises, Inc.' s ("Fluor")

Motion to Strike Defendant's Jury Demand ("Motion to Strike") pursuant to Federal Rule of

Civil Procedure 12(f). (ECF No. 35.) Defendant Mitsubishi Hitachi Power Systems Americas,

Inc. ('"Mitsubishi") responded, and Fluor replied. (ECF Nos. 37, 40.) Accordingly, the matter is

ripe for disposition. The Court dispenses with oral argument because the materials before it

adequately present the facts and legal contentions, and argument would not aid the decisional

process. The Court exercises jurisdiction pursuant to 28 U.S.C. § 1332. 1 For the reasons that

follow, the Court will deny Fluor's Motion to Strike.




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         "The district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between ... citizens of different States .., 28 U.S.C. § 1332. Fluor is a citizen of California and
Texas, Mitsubishi is a citizen of Delaware and Florida, and the Complaint alleges damages
exceeding $75,000.
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                            I. Factual and Procedural Background

       The Court offers only a brief recitation of the factual and procedural background and

assumes familiarity with its June 15, 2018 Memorandum Opinion. (ECF No. 33.)

       A.      Relevant Factual Background

       In February 2012, Mitsubishi entered into a Turbine Supply Agreement (the "TSA") with

Virginia Electric and Power Company ("VEPCO") to sell turbine generators-one steam turbine

generator and three combustion turbine generators-to VEPCO for use in a power generating

facility. Because the facility was located in Brunswick County, Virginia, the project became

known as the "Brunswick Project."

       Five months later, in July 2012, VEPCO contracted with Fluor for Fluor to construct the

Brunswick Project (the "Fluor Contract"). Under the Fluor Contract, Fluor was responsible for

many aspects of the Brunswick Project, including "all design, engineering, procurement,

construction, installation, start-up[,] and testing work necessary to engineer, procure and

construct the Brunswick Project." (Counterclaim~ 8, ECF No. 17.) Mitsubishi was not a party

to the Fluor Contract. Around the same time VEPCO entered into the Fluor Contract, it assigned

the TSA to Fluor through a Partial Assignment, Assumption, and Coordination Agreement

("Partial Assignment Agreement"). (Partial Assignment Agreement 18, ECF No. 1-8.) VEPCO

retained the obligation to pay Mitsubishi per the terms of the TSA.

       Fluor alleges that Mitsubishi breached the TSA by failing to pay Fluor the liquidated

damages to which it is entitled as a result of Mitsubishi's late delivery of components to the

project. (Compl. ~ 33, ECF No. 1.) Mitsubishi brings a defamation claim against Fluor based on

statements made by Fluor's CEO, David Seaton, during an August 3,2017 earnings call with

shareholders. (Counterclaim 10-14.) Mitsubishi contends that Mr. Seaton's statements were

defamatory of the turbines that it supplied to the Brunswick Project pursuant to the TSA.

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       The Partial Assignment Agreement contains the following provision:

               9.8 Governing Law; Choice of Forum; Waiver of Jury. This
               Agreement, and all amendments and modifications hereof, and all
               documents and instruments executed and delivered pursuant hereto
               or in connection herewith, shall be governed by and construed and
               enforced in accordance with the internal laws of the
               Commonwealth of Virginia, without regard to principles of
               conflict of laws. All judicial actions or proceedings brought against
               any Party with respect to this Agreement shall be brought in any
               state or federal court of competent jurisdiction in the
               Commonwealth of Virginia provided, however, that if a federal
               court in the Eastern District of the Commonwealth of Virginia has
               and accepts jurisdiction over the matter at issue the judicial action
               or proceeding shall be brought in such federal court, and by its
               execution and delivery of this Agreement, each Party accepts,
               generally and unconditionally, the exclusive jurisdiction of the
               aforesaid state and federal courts. Each Party irrevocably waives
               any objection (including any objection based upon the grounds of
               "forum non conveniens") that it now or hereafter may have to the
               bringing or prosecution of any such action or proceeding with
               respect to this Agreement or the documents and instruments
               contemplated hereby in the Commonwealth of Virginia. Each
               Party hereby irrevocably consents to the service of any and all
               process in any action or proceeding by mailing a copy of such
               process to such Party at the address for such Party set forth in
               Section 9.6 (Notices) of this Agreement. EACH PARTY
               ACKNOWLEDGES               AND        AGREES        THAT        ANY
               CONTROVERSY THAT MAY ARISE UNDER THIS
               AGREEMENT IS LIKELY TO INVOLVE COMPLICATED
               AND DIFFICULT ISSUES, AND THEREFORE EACH PARTY
               HEREBY IRREVOCABLY AND UNCONDITIONALLY
               WAIVES ANY AND ALL RIGHTS A PARTY MAY HAVE TO
               A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
               RESULTING FROM, ARISING OUT OF OR RELATING TO
               THIS       AGREEMENT             OR       THE      TRANSACTIONS
               CONTEMPLATED HEREBY.

(Partial Assignment Agreement§ 9.8, ECF No. 1-8.) (emphasis in original). The TSA includes

the following jury trial waiver:

               21.8.2 Waiver of Trial  by Jury. EACH   PARTY
               ACKNOWLEDGES      AND    AGREES   THAT    ANY
               CONTROVERSY THAT MAY ARISE UNDER THIS
               CONTRACT IS LIKELY TO INVOLVE COMPLICATED AND


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               DIFFICULT ISSUES, AND THEREFORE EACH PARTY
               HEREBY    IRREVOCABLY AND UNCONDITIONALLY
               WAIVES ANY AND ALL RIGHTS A PARTY MAY HAVE TO
               A TRIAL BY JURY IN RESPECT OF ANY LITIGATION
               RES ULTING FROM, ARISING OUT OF OR RELATING TO
               THIS    CONTRACT     OR    THE   TRANSACTIONS
               CONTEMPLATED HEREBY.

(TSA § 21.8.2, ECF No. 1-1.) The provisions quoted above form the basis for Fluor's argument

to strike the jury demand contained in Mitsubishi's Counterclaim.

       8.      Procedural Background

       On September 13, 2017, Fluor filed its Complaint against Mitsubishi, alleging one claim

for breach of contract. (ECF No. 1.) On October 16, 2017, Mitsubishi timely answered,

asserting a single counterclaim against Fluor for defamation. (ECF No. 17.) Fluor moved to

dismiss Mitsubishi's defamation claim pursuant to Federal Rule of Civil Procedure 12(b)(6). On

June 15, 2018, the Court denied Fluor's Motion to Dismiss. (See June 15, 2018 Order, ECF No.

34.)

       On August 23, 2018, Fluor filed its Motion to Strike, (ECF No. 35), arguing that the

Court should strike Mitsubishi's demand for a jury trial because the portions of the Partial

Assignment and TSA quoted above operate as a waiver of Mitsubishi's right to a trial by jury on

its claims and therefore precludes Mitsubishi from demanding a jury trial in this case.

                               II. Applicable Law and Analysis
       Fluor moves pursuant to Federal Rule of Civil Procedure 12(f). Rule 12(f) provides that:

               The court may strike from a pleading an insufficient defense or any
               redundant, immaterial, impertinent, or scandalous matter. The
               Court may act: (1) on its own; or (2) on motion made by a party
               either before responding to the pleading or, if a response is not
               allowed, within 21 days after being served with the pleading.

Fed. R. Civ. P. 12(f).



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       Mitsubishi made its demand for a jury trial when it filed its Answer and Affim1ative

Defenses to Complaint. Counterclaim and Jury Trial Demand c--counterclaim'·) on October 16,

20 17. (ECF No. 17.) On 1 ovember 3, 2017, Flour filed a Motion to Dismi ss the Counterclaim.2

On June I. 20 18 Fluor answered Mitsubishi's Counterclaim. (ECF No. 31 .) Fluor's fil ings did

not chall enge Mitsubishi 's demand for a jury. In fact, Fluor did not object to Mitsubishi .sjury

demand until it filed the instant Motion to Strike on August 23,20 18.

           Under Federal Rule of Civil Procedure 12(1), Fluor plainly filed its Motion to Strike on

an untimely basis. Fed. R. Civ. P. 12(f). The Federal Rules require that a moving party make a

motion to strike matters specified in Rule 12(f) before responding to the pleading at issue if it is

one to which a response is allowed. Id. Mitsubishi's Counterclaim constitutes a pleading to

which a response is permitted within the contemplation of Federal Rule of Civil Procedure l 2(f)

and one to which Fluor has already responded. See Fed. R. Civ. P. 12(a)(l )(B) (stating that "[a]

party must serve an answer to a counterclaim or crossclaim within 21 days after being served

with the pleading that states the counterclaim or crossclaim."). Accordingly. the Court will deny

the Motion to Strike.

                                           III. Conclusion

       For the fo regoing reasons, the Court will deny the Motion to Strike. (ECF No. 35 .)

       An appropriate Order shall issue.


                                                                     M. II X ~ b.a?ck
                                                                United Sta es District Judge

Date: 10 - I 2 - I &-
Richmond. Virginia



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        The Court denied Fluor·s Motion to Dismiss the Counterclaim on June 15. 20 18. (See
June 15.2018 Order, ECF No. 34.)
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